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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

vs. Criminal Number 1:17-¢f-00282 (EGS)

MICHAEL T. FLYNN

(Defendant)

 

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: (Please check one)

CJA [=] RETAINED L PUBLIC DEFENDER

/ / (Signature)
/

PLEASE PRINT THE FOLLOWING INFORMATION:

Jesse R. Binnall, VSB #79292

(Attorney & Bar ID Number)
Harvey & Binnall, PLLC

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